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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

CASE NO. 6:07-CV0-01431-ACC-DAB

DME HOLDINGS, LLC,

a Florida limited liability company
and RME, LLC,

a Florida limited liability company
d/b/a Response Mail Express

Plaintiffs,
V.
PRINT SOURCE ONE
an Arizona corporation

d/b/a SEMINAR DIRECT,

Defendant
/

DEFENDANT’S OPPOSITION TO PLAINTIFFS?’
MOTION FOR CLERK’S ENTRY OF DEFAULT

The Defendant, PRINT SOURCE ONE, opposes the Plaintiffs’ Motion for Clerk’s Entry of
Default as being facially deficient and premature. For those reasons, the Motion should be stricken.
The Defendant would state further:

On November 27, 2007, the court entered an Order Denying the Defendant’s Motion to
Transfer this action to the District of Arizona. The Defendant’s Motion to Transfer was based on
the “first to file” rule, and thereby implicitly asserted that venue was not proper in the Middle
District of Florida, pursuant to Fed.R.Civ.P. 12(b)(3). Fed-R.Civ.P. 12(a)(4)(A) states in pertinent
part: “...if the court denies the motion...the responsive pleading must be served within ten (10) days

after notice of the court’s action...”.

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Under Fed.R.Civ.P. 6(a), ten (10) days following the entry of the court’s Order of November
27, 2007 is December 11, 2007. Moreover, since the operative event is notice of the Order, the time
is further extended by virtue of Fed.R.Civ.P. 6(d)': “...three (3) days are added after the period would
otherwise expire under Rule 6(a).” Accordingly, the Defendant’s Answer is not required to be
served until December 14, 2007.

Aside from the fact that the Plaintiffs’ Motion is frivolous as premature, it is also deficient.
Fed.R.Civ.P. 55(a) allows for the entry of default against a party who “...has failed to plead or
otherwise defend, and that fact is made to appear by affidavit or otherwise...”. The Plaintiffs’ Motion
ignores the fact that the Defendant has “otherwise defended” the instant action by successfully
opposing the Plaintiffs’ Motion for Temporary Restraining Order, which specifically addressed the
merits of this action. While the term, or otherwise defend is not expressly defined in Rule 55, the
Advisory Committee notes to the December 1, 2007 amendments to Rule 55 state:

“Former Rule 55(a) directed the clerk to enter a default when a party failed to plead

or otherwise defend ‘as provided by these rules’. The implication from the reference

to defending ‘as provided by these rules’ seemed to be that the clerk should enter a

default even if party did something showing an intent to defend, but that act was not

specifically described by these rules. Courts, in fact, have rejected that implication.
Acts that show an intent to defend have frequently prevented a default even though
not connected to any particular rule. ‘As provided by these rules’ is deleted to reflect

Rule 55(a)’s actual meaning.”

The alternative argument found in the Plaintiffs’ Motion: that in its Order Denying the

Plaintiffs’ Motion for Preliminary Injunction the court stayed the action, effectively requiring service

' Fed.R.Civ.P. 6, as well as the other Rules cited in this Opposition, were amended
December 1, 2007 so that Rule 6(d) entitled, “Additional time after certain kinds of service” is
now in effect.

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of an Answer by December 5, 2007 makes no sense on its face, and is unsupported by any
Memorandum of Law. It would appear that paragraphs 3 - 7 of the Plaintiffs’ Motion confuse
staying an action with tolling a time limitation. Since the court’s Orders of September 25, 2007 and
November 27, 2007 did not impose a deadline for service of the Defendant’s Answer, that time
must be governed by Fed.R.Civ.P. 12(a)(4)(A).

For the reasons recited above, the Plaintiffs’ Motion is frivolous on its face. Not only has
the Defendant “otherwise defended this action”, it has reasonably determined that its responsive
pleading is due to be served on or before December 14, 2007. The Plaintiffs’ Motion must therefore
be stricken.

Respectfully submitted,
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CERTIFICATE OF SERVICE

I hereby certify that on December 13, 2007, I presented the foregoing to the Clerk of the

Court for filing and uploading to the CM/ECF system which will send a notice of electronic filing

to the following:

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